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Troutman Pepper Hamilton Sanders LLP
875 Third Avenue
New York, New York 10022

troutman.com


Bennet J. Moskowitz
bennet.moskowitz@troutman.com




August 14, 2020

VIA ECF

Hon. Debra C. Freeman
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007


Re:    Jane Doe v. Darren K. Indyke and Richard D. Kahn, in their capacities as the
       Executors of the Estate of Jeffrey E. Epstein, 1:20-cv-02365-LJL-DCF; Status
       Report

Dear Judge Freeman:

        We represent Defendants Darren K. Indyke and Richard D. Kahn, as Co-Executors of
the Estate of Jeffrey E. Epstein (together, “Defendants”; and Defendants together with Plaintiff
Jane Doe, the “Parties”) in the referenced action. We provide this status report on behalf of all
Parties.

        Plaintiff’s counsel has advised us that Plaintiff is currently working to formally submit her
claims to the Epstein Victims’ Compensation Program. Accordingly, the Parties request that the
stay of this action continue in accordance with the Joint Stipulation and Order Staying Action
(ECF Doc. 13).


Respectfully submitted,


/s/ Bennet J. Moskowitz
Bennet J. Moskowitz


cc: Counsel of Record (via ECF)
